Case 0:21-cv-62206-WPD Document 1 Entered on FLSD Docket 10/25/2021 Page 1 of 18




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

  DISPLAY TECHNOLOGIES, LLC,            §
                                        §
        Plaintiff,                      §               Case No:
                                        §
  vs.                                   §               PATENT CASE
                                        §
  TRIVIDIA HEALTH, INC.,                §
                                        §
        Defendant.                      §
  _____________________________________ §

                                             COMPLAINT

         Plaintiff Display Technologies, LLC (“Plaintiff” or “Display”) files this Complaint

  against Trividia Health, Inc. (“Defendant” or “Trividia”) for infringement of United States Patent

  No. 9,300,723 (the “ ‘723 Patent”).

                                 PARTIES AND JURISDICTION

         1.      This is an action for patent infringement under Title 35 of the United States Code.

  Plaintiff is seeking injunctive relief as well as damages.

         2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

  Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

  under the United States patent statutes.

         3.      Plaintiff is a Texas limited liability company with an address of 1 East Broward

  Boulevard, Suite 700, Ft. Lauderdale, FL 33301.

         4.      On information and belief, Defendant is a Delaware corporation with a principal

  place of business at 2400 NW 55TH Court, Ft. Lauderdale, FL 33309-2676. On information and

  belief, Defendant may be served through its registered agent, Jonathan Chapman, at the same

  address.




   Complaint Against Trividia Health, Inc.                                                   Page | 1
Case 0:21-cv-62206-WPD Document 1 Entered on FLSD Docket 10/25/2021 Page 2 of 18




          5.      This Court has personal jurisdiction over Defendant because Defendant has

  committed, and continues to commit, acts of infringement in this District, has conducted business

  in this District, and/or has engaged in continuous and systematic activities in this District.

          6.      Upon information and belief, Defendant’s instrumentalities that are alleged

  herein to infringe were and continue to be used, imported, offered for sale, and/or sold in this

  District.

                                                VENUE

          7.      On information and belief, venue is proper in this District under 28 U.S.C. §

  1400(b) because Defendant is a resident of this District. Alternatively, acts of infringement are

  occurring in this District and Defendant has a regular and established place of business in this

  District.

                                     COUNT I
                (INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)

          8.      Plaintiff incorporates paragraphs 1 through 7 herein by reference.

          9.      This cause of action arises under the patent laws of the United States and, in

  particular, under 35 U.S.C. §§ 271, et seq.

          10.     Plaintiff is the owner by assignment of the ‘723 Patent with sole rights to enforce

  the ‘723 Patent and sue infringers.

          11.     A copy of the ‘723 Patent, titled “Enabling social interactive wireless

  communications,” is attached hereto as Exhibit A.

          12.     The ‘723 Patent is valid, enforceable, and was duly issued in full compliance with

  Title 35 of the United States Code.

          13.     Defendant has infringed and continues to infringe one or more claims, including

  at least Claim 1 of the ‘723 Patent by making, using, and/or selling media systems covered by



    Complaint Against Trividia Health, Inc.                                                     Page | 2
Case 0:21-cv-62206-WPD Document 1 Entered on FLSD Docket 10/25/2021 Page 3 of 18




  one or more claims of the ‘723 Patent. For example, Defendant makes, uses, and/or sells the

  TRUE MANAGER AIR app, TRUE MATRIX AIR blood glucose meter, associated software,

  hardware and/or apps, and any similar products (“Product”). Defendant has infringed and

  continues to infringe the ‘723 Patent in violation of 35 U.S.C. § 271.

         14.     Regarding Claim 1, the Product is a media system. The Product includes a media

  system (e.g., health app) configured to allow a user to view a media file (e.g., health data) from

  a medical device by a media terminal (e.g., smartphone) from a media node (e.g., medical device)

  over a communication network (e.g., Bluetooth network) through a communication link. Certain

  aspects of this element are illustrated in the screenshots below and/or those provided in

  connection with other allegations herein.




   Complaint Against Trividia Health, Inc.                                                   Page | 3
Case 0:21-cv-62206-WPD Document 1 Entered on FLSD Docket 10/25/2021 Page 4 of 18




         15.     The Product includes at least one media terminal disposed in an accessible

  relation to at least one interactive computer network. For example, the Bluetooth network is

  used for sending health data from a media node (medical device) by detecting a smartphone (at

  least one media terminal) when the Product’s app is installed on the smartphone and connected

  with the Product’s media node through a Bluetooth network (i.e., the smartphone is in an

  accessible relationship with the interactive computer network). Certain aspects of this element

  are illustrated in the screenshots below and/or in those provided in connection with other

  allegations herein.




   Complaint Against Trividia Health, Inc.                                                 Page | 4
Case 0:21-cv-62206-WPD Document 1 Entered on FLSD Docket 10/25/2021 Page 5 of 18




         16.    A wireless range is structured to permit authorized access to the at least one

  interactive computer network. For example, the Bluetooth signals of the Product’s medical

  device (media node) have a range within which the smartphone (media terminal) may connect.




   Complaint Against Trividia Health, Inc.                                              Page | 5
Case 0:21-cv-62206-WPD Document 1 Entered on FLSD Docket 10/25/2021 Page 6 of 18




         17.     At least one media node is disposable within the wireless range, wherein the at

  least one media node is detectable by the at least one media terminal. For example, the Product’s

  medical device (media node) is detectable by the media terminal (smartphone). Certain aspects

  of this element are illustrated in the screenshots below and/or those provided in connection with

  other allegations herein.




   Complaint Against Trividia Health, Inc.                                                   Page | 6
Case 0:21-cv-62206-WPD Document 1 Entered on FLSD Docket 10/25/2021 Page 7 of 18




         18.     At least one digital media file is initially disposed on at least one of the at least

  one media terminal or the at least one media node and the at least one media terminal is structured

  to detect the at least one media node disposed within the wireless range. For example, the health

  data is initially disposed on the media node (medical device/monitor) and the media terminal can

  detect the medical device when it is within the appropriate range. Certain aspects of this element

  are illustrated in the screenshots below and/or those provided in connection with other

  allegations herein.




   Complaint Against Trividia Health, Inc.                                                     Page | 7
Case 0:21-cv-62206-WPD Document 1 Entered on FLSD Docket 10/25/2021 Page 8 of 18




   Complaint Against Trividia Health, Inc.                             Page | 8
Case 0:21-cv-62206-WPD Document 1 Entered on FLSD Docket 10/25/2021 Page 9 of 18




         19.    A communication link is structured to dispose the at least one media terminal and

  the at least one media node in a communicative relation with one another via the at least one

  interactive computer network. For example, the smartphone and medical device are in a

  communicative relation over the Bluetooth network.




   Complaint Against Trividia Health, Inc.                                                 Page | 9
Case 0:21-cv-62206-WPD Document 1 Entered on FLSD Docket 10/25/2021 Page 10 of 18




    Complaint Against Trividia Health, Inc.                            Page | 10
Case 0:21-cv-62206-WPD Document 1 Entered on FLSD Docket 10/25/2021 Page 11 of 18




          20.     The communication link is initiated by the at least one media terminal. For

   example, when the user turns on Bluetooth on the smartphone (media terminal), the smartphone

   initiates the communication link.




    Complaint Against Trividia Health, Inc.                                             Page | 11
Case 0:21-cv-62206-WPD Document 1 Entered on FLSD Docket 10/25/2021 Page 12 of 18




    Complaint Against Trividia Health, Inc.                            Page | 12
Case 0:21-cv-62206-WPD Document 1 Entered on FLSD Docket 10/25/2021 Page 13 of 18




          21.    The at least one media node and the at least one media terminal are structured to

   transmit the at least one digital media file therebetween via the communication link. For

   example, the smartphone/app and the medical device are structured to transmit health data from

   the device to the smartphone over the wireless network.




    Complaint Against Trividia Health, Inc.                                               Page | 13
Case 0:21-cv-62206-WPD Document 1 Entered on FLSD Docket 10/25/2021 Page 14 of 18




           22.     The communication link is structured to bypass at least one media terminal

   security measure for a limited permissible use of the communication link by the media node to

   only transferring the at least one digital media file to, and displaying the at least one digital media

   file on, the at least one media terminal. For example, the communication link is structured so

   that whenever the user installs the Product’s app on the smartphone (media terminal), the

   smartphone automatically connects (bypassing any security measures) with the Product’s

   medical device through Bluetooth code (i.e., media terminal security) whenever the smartphone

   comes to the range of the Bluetooth signals (for the limited purpose of transferring data form the

   device to the smartphone).




     Complaint Against Trividia Health, Inc.                                                      Page | 14
Case 0:21-cv-62206-WPD Document 1 Entered on FLSD Docket 10/25/2021 Page 15 of 18




    Complaint Against Trividia Health, Inc.                            Page | 15
Case 0:21-cv-62206-WPD Document 1 Entered on FLSD Docket 10/25/2021 Page 16 of 18




    Complaint Against Trividia Health, Inc.                            Page | 16
Case 0:21-cv-62206-WPD Document 1 Entered on FLSD Docket 10/25/2021 Page 17 of 18




          23.     Defendant’s actions complained of herein will continue unless Defendant is

   enjoined by this court.

          24.     Defendant’s actions complained of herein are causing irreparable harm and

   monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

   and restrained by this Court.

          25.     Plaintiff is in compliance with 35 U.S.C. § 287.

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)     Enter judgment for Plaintiff on this Complaint on all causes of action asserted


    Complaint Against Trividia Health, Inc.                                               Page | 17
Case 0:21-cv-62206-WPD Document 1 Entered on FLSD Docket 10/25/2021 Page 18 of 18




   herein;

             (b)    Enter an Order enjoining Defendant, its agents, officers, servants, employees,

   attorneys, and all persons in active concert or participation with Defendant who receive notice

   of the order from further infringement of United States Patent No. 9,300,723 (or, in the

   alternative, awarding Plaintiff running royalties from the time of judgment going forward);

             (c)    Award Plaintiff damages resulting from Defendant’s infringement in accordance

   with 35 U.S.C. § 284;

             (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and

             (e)    Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

   law or equity.

   Dated: October 25, 2021                         Respectfully submitted,


                                                   /s/Barbra Anne Stern
                                                   Barbra A. Stern, Esquire
                                                   Florida Bar No.: 526576
                                                   Law Offices of Barbra Stern PA
                                                   808 E. Las Olas Blvd. Suite 102
                                                   Fort Lauderdale, FL 33301
                                                   Phone: (954) 743-4710
                                                   Direct Dial (954) 239-7249
                                                   barbra@sternlawoffice.com
                                                   ATTORNEY(S) FOR PLAINTIFF




    Complaint Against Trividia Health, Inc.                                                      Page | 18
